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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN




GM GLOBAL TECHNOLOGY
OPERATIONS, LLC                                Case No. ______________

             Plaintiff,                        JURY TRIAL DEMANDED

v.

QUALITY COLLISION PARTS, INC.,

             Defendant.



            COMPLAINT FOR DESIGN PATENT INFRINGEMENT
      Plaintiff GM Global Technology Operations, LLC (“GM Global Technology”

or “GTO” or “Plaintiff”), by and through its attorneys Honigman, LLP, for its

complaint against Defendant Quality Collision Parts, Inc. (“Quality Collision” or

“Defendant”), hereby alleges as follows:

                          NATURE OF THE ACTION
      1.    This is an action for design patent infringement arising under the Patent

laws of the United States, 35 U.S.C § 101 et seq. GM Global Technology is the

owner and assignee of the designs claimed in United States Patent Nos. D670,840,

D843,025, D807,241, D805,964, D811,954, D811,964, D826,114, D800,615,

D867,939, and D777,622 (collectively the “Asserted GM Patents”).


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      2.     Quality Collision has used and continues to use the claimed designs of

the Asserted GM Patents, without the permission of GM Global Technology, on

various replacement and replica car parts that Quality Collision makes, uses, offers

for sale, sells, and/or imports into the United States.

                                   THE PARTIES
      3.     GM Global Technology is a Delaware limited liability company having

a principal place of business at 300 Renaissance Center, Detroit, MI, 48265.

      4.     Quality Collision is a Michigan corporation with a principal place of

business at 5600 E Nine Mile Road, Warren, MI, 48091.

                          JURISDICTION AND VENUE
      5.     The Court has subject matter jurisdiction over this patent infringement

action under 28 U.S.C. §§ 1331, 1367, and 1338.

      6.     This Court has personal jurisdiction over Quality Collision at least

because Quality Collision (i) transacts and solicits business in the State of Michigan,

(ii) is a Michigan corporation, and (iii) is committing acts of patent infringement in

the State of Michigan, at least, by selling, offering to sell, and/or importing

replacement and replica car parts that infringe the Asserted GM Patents.

      7.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and

1400 because Quality Collision is incorporated in the State of Michigan, and because

Quality Collision has a regular and established place of business in this judicial


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district, including its principal place of business at 5600 E Nine Mile Road, Warren,

MI, 48091. Quality Collision’s operations in this district include the soliciting of

business in this district, including with respect to replacement and replica car parts

that infringe the Asserted GM Patents, and the committing of acts of infringement

in this judicial district, by selling, offering to sell, and importing into this district

replacement and replica car parts that infringe the Asserted GM Patents. Quality

Collision states on its web site that it “service[s] aftermarket auto body parts to

residents in these [Michigan] cities,” many of which are in this judicial district:

“Auburn Hills, Allen Park, Berkley, Beverly Hills, Birmingham, Bloomfield Hills,

Center Line, Chesterfield, Clarkston, Clawson, Dearborn Heights, Detroit,

Eastpointe, Farmington, Ferndale, Franklin, Grosse Pointe, Hazel Park, Huntington

Wood, Livonia, Macomb, Madison Heights, Mount Clemens, Novi, Oak Park,

Rochester, Roseville, Royal Oak, Southfield, Southgate, Sterling Heights, Troy,

Utica, Walled Lake, Warren, West Bloomfield, Wixom, Woodhaven.” (Exhibit

21.)1



1
 Exhibit 21 is a collection of screenshots of the following Quality Collision web pages (the exhibit
contains added sequential numbering):
https://www.qualityautomotivepart.com/,
https://www.qualityautomotivepart.com/general-motors--gm-.html,
https://www.qualityautomotivepart.com/chevrolet.html,
https://www.qualityautomotivepart.com/aftermarket-grilles-mi.html,
https://www.qualityautomotivepart.com/head-light---tail-light.html,
https://www.qualityautomotivepart.com/aftermarket-bumpers-mi.html,
https://www.qualityautomotivepart.com/aftermarket-hood-mi-.html


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                                  BACKGROUND
      8.     General Motors Company is one of the largest automotive vehicle

manufacturers and innovators in the world. GM Global Technology is a wholly-

owned subsidiary of General Motors Holdings LLC, which is a wholly-owned

subsidiary of General Motors Company. General Motors LLC is also a wholly-

owned subsidiary of General Motors Holdings LLC and is the U.S. operating unit of

General Motors Company (as used herein, “GM” refers to General Motors Company

and its U.S. Operating Entity General Motors LLC).

      9.     For over a century, GM has been a pioneer and at the forefront of the

design of unique vehicles, auto bodies, and components, creating innovative and

aesthetically beautiful designs from the iconic Chevrolet Corvette to the Cadillac

Escalade. GM manages a team of hundreds of designers globally, investing millions

of dollars annually in the design of its products.

      10.    GM updates its products with regularity, which includes aesthetic

updates to the ornamental designs of its vehicles and to specific parts of each of its

vehicles.

      11.    GM sells individual vehicle components, including replacement parts

and accessories.

      12.    GM through its Global Technology subsidiary invests heavily in the

protection of the unique and innovative ornamental features embodied in its vehicles


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and the component parts of those vehicles, and has applied for and received over a

thousand issued U.S. Design Patents.

      13.    Quality Collision is in the business of selling replacement and replica

parts for automotive vehicles. These replacement parts are intended and designed

to be substitutable with the GM branded parts, and are intended and designed to be,

and indeed are, near-identical (if not completely identical) carbon copies in terms of

ornamental appearance to the GM parts that they are meant to replace. Quality

Collision’s business model is premised on the offering of replacement components

that perfectly match the ornamental appearance of OEM components, including

those of GM, and Quality Collision profits heavily from the misuse and infringement

of GM’s patented ornamental designs.

      14.    Quality Collision recognizes the aesthetic similarity of the parts it sells

with GTO’s patented designs: “[Quality Collision’s] aftermarket General Motors

(GM) auto body parts are designed and built to fit the exact specifications of your

General Motors (GM) vehicle.” (Ex. 21, p. 7.) Quality Collision claims that buying

these replica parts from Quality Collision will “save you money on your General

Motors (GM) auto body parts” as compared to purchasing the same parts from a

“General Motors (GM) dealership.” (Id.) In fact, Quality Collision suggests

consumers “grab the estimate” from an authorized GM “dealership” and then “give

us a call and let us try to save you money.” (Id.)


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      15.    Quality Collision’s widespread and ongoing infringement has caused

and continues to cause significant damage to GM. Because Quality Collision does

not invest in design and intellectual property, but rather copies the patented designs

of GM, it is able to charge less for aftermarket replacement parts than an authorized

GM dealer. Quality Collision touts exactly this type of price undercutting and

copying as the sole reason for a customer to purchase a Quality Collision infringing

product. Its web site gives an example:

             You are driving a 2015 GMC Acadia and you are looking
             for a front bumper. You began heading to General Motors
             (GM) collision sh[o]ps and General Motors (GM)
             dealerships and they were all quoting you $450 and up. If
             you purchase the 2015 GMC Acadia bumper from us you
             will only be paying $258.00. This will save you $192.00
             that can go towards paint and installation. If you needed
             more parts on your vehicle besides the front bumper, you
             can save at least half of the estimate on parts. These are
             the same General Motors (GM) aftermarket auto body
             parts that your General Motors (GM) collision shop
             and General Motors (GM) dealership is quoting you
             for.

(Id. at p. 9) (emphasis added).

      16.    Quality Collision’s infringement of Asserted GM Patents is widespread

and ongoing, and extends across many categories of replacement parts, including but

not limited to: mirrors, grilles, hoods, fenders, bumpers, headlamps, and taillamps.

      17.    Quality Collision’s infringement of Asserted GM Patents has caused, is

causing, and will continue to cause irreparable harm to GM, including but not limited


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to: lost profits, lost customers, lost market share, price erosion, reputational harm,

loss of good will, and harm to GM’s reputation for innovation.

      18.    Quality Collision was made aware of the Asserted GM Patents at least

through the initiation of a governmental investigation and regulatory action that

occurred in July 2022.

      19.    Specifically, in July 2022, Customs and Border Protection (“CBP”)

seized a number of parts from Quality Collision’s facilities in Warren and

Richmond, Michigan, for various intellectual property violations, including that the

seized parts infringed or were suspected of infringing on certain trademarks and

design patents of various automotive companies including GM.

      20.    At CBP’s request, in December 2022, GM employees inspected the

seized parts at a CBP facility and concluded that the seized parts infringed upon

various of GM’s intellectual property rights, including infringing upon a number of

GM’s issued design patents, a portion of which include the Asserted GM Patents.

GM provided evidence to CBP detailing the basis for its determination of design

patent infringement in the form of various sworn affidavits.

      21.    On information and belief, in and around December 2022, Quality

Collision learned of GM’s determination of design patent infringement, including

that GM alleged design patent infringement of the Asserted GM Patents and the basis

for those allegations as set forth in GM’s sworn affidavits.


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      22.     During discussions with Quality Collision’s previous counsel

(Varnum) on May 22, 2023, Quality Collision was directed to and provided

information    regarding     GM’s     virtual   patent    marking   list   located   at

https://www.gmparts.com/gm-part-design-patents. GM’s virtual patent marking list

includes all of the Asserted GM Patents and a correlation with their respective

commercial embodiments.

      23.     Quality Collision was formally notified, in writing, of its infringement

of the Asserted GM Patents no later than June 13, 2023, in a letter from GM counsel

to Quality Collision. (Exhibit 22.) On August 7, 2023, counsel for Quality Collision

acknowledged to GM counsel that it was in possession of copies of the various

affidavits outlining the basis and evidence for GM’s determination of design patent

infringement that GM had previously provided to CBP.

      24.     Quality Collision does not have a license or any other authorization to

practice the designs of the Asserted GM Patents.

                                    COUNT I
                      (Infringement of U.S. Patent D670,840)

      25.     GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-24 as if fully set forth herein.

      26.     One of GM Global Technology’s designs is shown in United States

Patent No. D670,840 (“the D’840 Patent”). The D’840 Patent is titled “Vehicle

Head Lamp,” and was duly issued by the United States Patent and Trademark Office

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(“USPTO”) on November 13, 2012. A true and correct copy of the D’840 Patent is

attached hereto as Exhibit 1.

      27.    The D’840 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’840 Patent.

      28.    The D’840 Patent is presumed valid and enforceable.

      29.    The design of the D’840 Patent is commercially embodied in the 2013-

2016 Chevrolet Malibu headlamp.

      30.    On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Chevrolet Malibu (1997-present) and for

Chevrolet headlights, which includes the 2013-2016 Chevrolet Malibu headlamp.

(Ex. 21, pp. 8, 15, 17.) Quality Collision’s web site further states that it carries

aftermarket auto body parts for “Chevrolet Aftermarket Headlights.” (Id. at 29.)

      31.    As shown in claim chart attached as Exhibit 2 hereto, Quality

Collision’s Part Nos. GM2502362, GM2503362, and GM2503400 directly infringe

the D’840 Patent and are substantially similar, if not identical, to the designs

disclosed in the D’840 Patent.

      32.    Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part Nos. GM2502362, GM2503362, and

GM2503400, having designs that infringe the D’840 Patent.

      33.    Quality Collision has been on notice of its infringement of the D’840


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Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      34.    Quality Collision does not have a license to practice the designs claimed

in the D’840 Patent, and is not otherwise authorized to do so.

      35.    Accordingly, Quality Collision has engaged in infringing acts related

to the D’840 Patent with knowledge of the fact Quality Collision’s parts infringe the

D’840 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’840 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                                   COUNT II
                      (Infringement of U.S. Patent D843,025)

      36.    GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-35 as if fully set forth herein.

      37.    One of GM Global Technology’s designs is shown in United States

Patent No. D843,025 (“the D’025 Patent”). The D’025 Patent is titled “Vehicle

Front Headlamp,” and was duly issued by the USPTO on March 12, 2019. A true

and correct copy of the D’025 Patent is attached hereto as Exhibit 3.

      38.    The D’025 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’025 Patent.

      39.    The D’025 Patent is presumed valid and enforceable.

      40.    The design of the D’025 Patent is commercially embodied in the 2019-

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2024 Chevrolet Malibu headlamp.

      41.    On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Chevrolet Malibu (1997-present) and for

Chevrolet headlights which includes the 2019-2024 Chevrolet Malibu headlamp.

(Ex. 21, pp. 8, 15, 17, 29.)

      42.    As shown in the attached claim chart at Exhibit 4 attached hereto,

Quality Collision’s Part Nos. GM2502498 and GM2503498 directly infringe the

D’025 Patent and are substantially similar, if not identical, to the designs disclosed

in the D’025 Patent.

      43.    Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part Nos. GM2502498 and GM2503498,

having designs that infringe the D’025 Patent.

      44.    Quality Collision has been on notice of its infringement of the D’025

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      45.    Quality Collision does not have a license to practice the designs claimed

in the D’025 Patent, and is not otherwise authorized to do so.

      46.    Accordingly, Quality Collision has engaged in infringing acts related

to the D’025 Patent with knowledge of the fact Quality Collision’s parts infringe the

D’025 Patent.     Further, Quality Collision has disregarded an objectively high


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likelihood of infringement of the D’025 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                                   COUNT III
                      (Infringement of U.S. Patent D807,241)

      47.    GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-46 as if fully set forth herein.

      48.    One of GM Global Technology’s designs is shown in United States

Patent No. D807,241 (“the D’241 Patent”). The D’241 Patent is titled “Vehicle

Grille,” and was duly issued by the USPTO on January 9, 2018. A true and correct

copy of the D’241 Patent is attached hereto as Exhibit 5.

      49.    The D’241 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’241 Patent.

      50.    The D’241 Patent is presumed valid and enforceable.

      51.    The design of the D’241 Patent is commercially embodied in the 2018-

2021 Chevrolet Equinox grille.

      52.    On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Chevrolet Equinox (2005-present) and for

Chevrolet grilles which includes the 2018-2021 Chevrolet Equinox grille. (Ex. 21,

pp. 9, 15, 18, 23.)

      53.    As shown in the attached claim chart at Exhibit 6 attached hereto,

Quality Collision’s Part Nos. GM1200760 and GM1200685 directly infringe the

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D’241 Patent and are substantially similar, if not identical, to the designs disclosed

in the D’241 Patent.

      54.    Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part Nos. GM1200760 and GM1200685,

having designs that infringe the D’241 Patent. This includes the grille alone and in

combination as part of a larger grille assembly.

      55.    Quality Collision has been on notice of its infringement of the D’241

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      56.    Quality Collision does not have a license to practice the designs claimed

in the D’241 Patent, and is not otherwise authorized to do so.

      57.    Accordingly, Quality Collision has engaged in infringing acts related

to the D’241 Patent with knowledge of the fact Quality Collision’s part infringes the

D’241 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’241 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                                    COUNT IV
                       (Infringement of U.S. Patent D805,964)

      58.    GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-57 as if fully set forth herein.

      59.    One of GM Global Technology’s designs is shown in United States

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Patent No. D805,964 (“the D’5,964 Patent”). The D’5,964 Patent is titled “Vehicle

Grille,” and was duly issued by the USPTO on December 26, 2017. A true and

correct copy of the D’5,964 Patent is attached hereto as Exhibit 7.

      60.    The D’5,964 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’5,964 Patent.

      61.    The D’5,964 Patent is presumed valid and enforceable.

      62.    The design of the D’5,964 Patent is commercially embodied in the

2017-2019 Buick LaCrosse Grille.

      63.    On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Buick Lacrosse and for GM grilles which

includes the 2017-2019 Buick LaCrosse Grille. (Ex. 21, pp. 7, 23.)

      64.    As shown in the attached claim chart at Exhibit 8 attached hereto,

Quality Collision’s Part Nos. GM1200749 and ASYA16 directly infringe the

D’5,964 Patent and are substantially similar, if not identical, to the designs disclosed

in the D’5,964 Patent.

      65.    Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part Nos. GM1200749 and ASYA16, having

designs that infringe the D’5,964 Patent. This includes the grille alone and in

combination as part of an assembly.

      66.    Quality Collision has been on notice of its infringement of the D’5,964


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Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

          67.   Quality Collision does not have a license to practice the designs claimed

in the D’5,964 Patent, and is not otherwise authorized to do so.

          68.   Accordingly, Quality Collision has engaged in infringing acts related

to the D’5,964 Patent with knowledge of the fact Quality Collision’s part infringes

the D’5,964 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’5,964 Patent, and has acted, and continues to

act, willfully, wantonly, and in deliberate disregard of GM Global Technology’s

rights.

                                     COUNT V
                        (Infringement of U.S. Patent D811,954)

          69.   GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-68 as if fully set forth herein.

          70.   One of GM Global Technology’s designs is shown in United States

Patent No. D811,954 (“the D’954 Patent”). The D’954 Patent is titled “Radiator

Grille of Car,” and was duly issued by the USPTO on March 6, 2018. A true and

correct copy of the D’954 Patent is attached hereto as Exhibit 9.

          71.   The D’954 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’954 Patent.

          72.   The D’954 Patent is presumed valid and enforceable.

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      73.    The design of the D’954 Patent is commercially embodied in the 2017-

2022 Buick Encore Grille.

      74.    On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Buick Encore and for GM grilles which includes

the 2017-2022 Buick Encore grille. (Ex. 21, pp. 7, 23.)

      75.    As shown in the attached claim chart at Exhibit 10 attached hereto,

Quality Collision’s Part Nos. FZ1109, ASY4127, ASY4128, and ASY4127A

directly infringe the D’954 Patent and are substantially similar, if not identical, to

the designs disclosed in the D’954 Patent.

      76.    Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part Nos. FZ1109, ASY4127, ASY4128, and

ASY4127A, having designs that infringe the D’954 Patent. This includes the grille

alone and in combination as part of an assembly. .

      77.    Quality Collision has been on notice of its infringement of the D’954

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      78.    Quality Collision does not have a license to practice the designs claimed

in the D’954 Patent, and is not otherwise authorized to do so.

      79.    Accordingly, Quality Collision has engaged in infringing acts related

to the D’954 Patent with knowledge of the fact Quality Collision’s part infringes the


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D’954 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’954 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                                   COUNT VI
                      (Infringement of U.S. Patent D811,964)

      80.    GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-79 as if fully set forth herein.

      81.    One of GM Global Technology’s designs is shown in United States

Patent No. D811,964 (“the D’1,964 Patent”). The D’1,964 Patent is titled “Vehicle

Front Upper Bumper,” and was duly issued by the USPTO on March 6, 2018. A

true and correct copy of the D’1,964 Patent is attached hereto as Exhibit 11.

      82.    The D’1,964 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’1,964 Patent.

      83.    The D’1,964 Patent is presumed valid and enforceable.

      84.    The design of the D’1,964 Patent is commercially embodied in the

2018-2021 Chevrolet Equinox Front Bumper.

      85.    On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Chevrolet Equinox (2005-present) and for Front

& Rear Aftermarket Bumper Covers which includes the 2019-2021 Chevrolet

Equinox front bumper. (Ex. 21, pp. 7-8, 9, 15-16, 18, 35.)

      86.    As shown in the attached claim chart at Exhibit 12 attached hereto,

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Quality Collision’s Part No. GM1014130 directly infringes the D’1,964 Patent and

is substantially similar, if not identical, to the designs disclosed in the D’1,964

Patent.

          87.   Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part No. GM1014130, having a design that

infringes the D’1,964 Patent. This includes the bumper alone and in combination as

part of a larger assembly.

          88.   Quality Collision has been on notice of its infringement of the D’1,964

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

          89.   Quality Collision does not have a license to practice the designs claimed

in the D’1,964 Patent, and is not otherwise authorized to do so.

          90.   Accordingly, Quality Collision has engaged in infringing acts related

to the D’1,964 Patent with knowledge of the fact Quality Collision’s part infringes

the D’1,964 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’1,964 Patent, and has acted, and continues to

act, willfully, wantonly, and in deliberate disregard of GM Global Technology’s

rights.

                                    COUNT VII
                        (Infringement of U.S. Patent D826,114)

          91.   GM Global Technology restates and incorporates by reference each of

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its allegations in paragraphs 1-90 as if fully set forth herein.

      92.    One of GM Global Technology’s designs is shown in United States

Patent No. D826,114 (“the D’114 Patent”). The D’114 Patent is titled “Vehicle

Front Bumper,” and was duly issued by the USPTO on August 21, 2018. A true and

correct copy of the D’114 Patent is attached hereto as Exhibit 13.

      93.    The D’114 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’114 Patent.

      94.    The D’114 Patent is presumed valid and enforceable.

      95.    The design of the D’114 Patent is commercially embodied in the 2019-

2020 Chevrolet Malibu Fascia.

      96.    On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Chevrolet Malibu (1997-present) and for

Chevrolet Upper, Center, & Lower Grille Moldings which includes the 2019-2020

Chevrolet Malibu fascia. (Ex. 21, pp. 8, 15, 17, 23.)

      97.    As shown in the attached claim chart at Exhibit 14 attached hereto,

Quality Collision’s Part No. GM1000A37 directly infringes the D’114 Patent and is

substantially similar, if not identical, to the designs disclosed in the D’114 Patent.

      98.    Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part No. GM1000A37, having a design that

infringes the D’114 Patent. This includes the fascia alone and in combination as part


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of a larger assembly.

      99.    Quality Collision has been on notice of its infringement of the D’114

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      100. Quality Collision does not have a license to practice the designs claimed

in the D’114 Patent, and is not otherwise authorized to do so.

      101. Accordingly, Quality Collision has engaged in infringing acts related

to the D’114 Patent with knowledge of the fact Quality Collision’s part infringes the

D’114 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’114 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                                    COUNT VIII
                        (Infringement of U.S. Patent D800,615)

      102. GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-101 as if fully set forth herein.

      103. One of GM Global Technology’s designs is shown in United States

Patent No. D800,615 (“the D’615 Patent”). The D’615 Patent is titled “Front

Bumper of Car,” and was duly issued by the USPTO on October 24, 2017. A true

and correct copy of the D’615 Patent is attached hereto as Exhibit 15.

      104. The D’615 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’615 Patent.

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      105. The D’615 Patent is presumed valid and enforceable.

      106. The design of the D’615 Patent is commercially embodied in the 2017-

2022 Buick Encore Fascia.

      107. On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for Buick Encore and for Bumper Cover(s) which

includes the 2017-2022 Buick Encore Fascia. (Ex. 21, pp. 7, 35, 36.)

      108. As shown in the attached claim chart at Exhibit 16 attached hereto,

Quality Collision’s Part Nos. GM1014127, ASY4127A, and ASY4128 directly

infringe the D’615 Patent and are substantially similar, if not identical, to the designs

disclosed in the D’615 Patent.

      109. Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part Nos. GM1014127, ASY4127A, and

ASY4128, having designs that infringe the D’615 Patent. This includes the fascia

alone and in combination as part of an assembly.

      110. Quality Collision has been on notice of its infringement of the D’615

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      111. Quality Collision does not have a license to practice the designs claimed

in the D’615 Patent, and is not otherwise authorized to do so.

      112. Accordingly, Quality Collision has engaged in infringing acts related


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to the D’615 Patent with knowledge of the fact Quality Collision’s part infringes the

D’615 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’615 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                                   COUNT IX
                      (Infringement of U.S. Patent D867,939)

      113. GM Global Technology restates and incorporates by reference each of

its allegations in paragraphs 1-112 as if fully set forth herein.

      114. One of GM Global Technology’s designs is shown in United States

Patent No. D867,939 (“the D’939 Patent”). The D’939 Patent is titled “Vehicle

Grille Bezel,” and was duly issued by the USPTO on November 26, 2019. A true

and correct copy of the D’939 Patent is attached hereto as Exhibit 17.

      115. The D’939 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’939 Patent.

      116. The D’939 Patent is presumed valid and enforceable.

      117. The design of the D’939 Patent is commercially embodied in the 2019

Chevrolet Cruze Grille.

      118. On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Chevrolet Cruze (compact) (2008-present) and

for Chevrolet Grilles which includes the 2019 Chevrolet Cruze grille bezel. (Ex. 21,

pp. 7, 15, 17, 23.)

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      119. As shown in the attached claim chart at Exhibit 18 attached hereto,

Quality Collision’s Part No. ASYA36CV includes a part that directly infringes the

D’939 Patent and is substantially similar, if not identical, to the designs disclosed in

the D’939 Patent.

      120. Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part No. ASYA36CV, having a part that has

a design that infringes the D’939 Patent. This includes the grille bezel alone and in

combination as part of an assembly.

      121. Quality Collision has been on notice of its infringement of the D’939

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      122. Quality Collision does not have a license to practice the designs claimed

in the D’939 Patent, and is not otherwise authorized to do so.

      123. Accordingly, Quality Collision has engaged in infringing acts related

to the D’939 Patent with knowledge of the fact Quality Collision’s part infringes the

D’939 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’939 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                                  COUNT X
                     (Infringement of U.S. Patent D777,622)

      124. GM Global Technology restates and incorporates by reference each of

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its allegations in paragraphs 1-123 as if fully set forth herein.

      125. One of GM Global Technology’s designs is shown in United States

Patent No. D777,622 (“the D’622 Patent”). The D’622 Patent is titled “Vehicle

Hood,” and was duly issued by the USPTO on January 31, 2017. A true and correct

copy of the D’622 Patent is attached hereto as Exhibit 19.

      126. The D’622 Patent is assigned to GM Global Technology, which owns

all substantial rights, interest, and title in the D’622 Patent.

      127. The D’622 Patent is presumed valid and enforceable.

      128. The design of the D’622 Patent is commercially embodied in the 2016-

2019 Chevrolet Cruze hood.

      129. On its website, Quality Collision specifically states that it carries

aftermarket auto body parts for the Chevrolet Cruze (compact) (2008-present) and

for Chevrolet Hoods which includes the 2016-2019 Chevrolet Cruze hood. (Ex. 21,

pp. 7, 15, 17, 40.)

      130. As shown in the attached claim chart at Exhibit 20 attached hereto,

Quality Collision’s Part No. GM1230443 directly infringes the D’622 Patent and is

substantially similar, if not identical, to the designs disclosed in the D’622 Patent.

      131. Quality Collision has made, used, offered for sale, sold, and/or

imported into the United States at least Part No. GM1230443, having a design that

infringes the D’622 Patent. This includes the hood alone and in combination as part


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of a larger assembly.

      132. Quality Collision has been on notice of its infringement of the D’622

Patent at least by December 7, 2022, if not earlier, and Quality Collision’s

infringement is willful.

      133. Quality Collision does not have a license to practice the designs claimed

in the D’622 Patent, and is not otherwise authorized to do so.

      134. Accordingly, Quality Collision has engaged in infringing acts related

to the D’622 Patent with knowledge of the fact Quality Collision’s part infringes the

D’622 Patent. Further, Quality Collision has disregarded an objectively high

likelihood of infringement of the D’622 Patent, and has acted, and continues to act,

willfully, wantonly, and in deliberate disregard of GM Global Technology’s rights.

                              CLAIM FOR RELIEF
      WHEREFORE, GM Global Technology respectfully requests that the Court

grant the following relief:

      (a)     A judgment that Quality Collision has infringed each of the Asserted

GM Patents;

      (b)     A permanent injunction enjoining Quality Collision, and all persons in

concert with Quality Collisions, from infringing each of the Asserted GM Patents;

      (c)     A judgment and order requiring Quality Collision to pay GM Global

Technology all damages caused by Quality Collision’s infringement of each of the


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Asserted GM Patents (but in no event less than a reasonable royalty) pursuant to 35

U.S.C. § 284, or the total profit made by Quality Collision from its infringement of

each of the Asserted GM Patents pursuant to 35 U.S.C. § 289;

      (d)    A judgment and order requiring Quality Collision to pay GM Global

Technology supplemental damages or profits for any continuing post-verdict

infringement up until entry of the final judgment, with an accounting, as needed;

      (e)    A judgment and order finding that Quality Collision’s conduct was

willful and requiring Quality Collision to pay GM Global Technology increased

damages up to three times the amount found or assessed pursuant to 35 U.S.C. § 284;

      (f)    A judgment and order requiring Quality Collision to pay GM Global

Technology pre-judgment and post-judgment interest on any damages or profits

awarded;

      (g)    A determination that this action is an exceptional case pursuant to 35

U.S.C. § 285;

      (h)    An award of GM Global Technology’s attorneys’ fees for bringing and

prosecuting this action;

      (i)    An award of GM Global Technology’s costs and expenses incurred in

bringing and prosecuting this action; and

      (j)    Such further and additional relief as this Court deems just and proper.




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                               JURY DEMAND

     GM Global Technology demands a trial by jury as to all issues triable herein.

Date: November 29, 2023              Respectfully submitted,

                                     HONIGMAN LLP


                                     By: /s/ J. Michael Huget

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